Case 2:04-Cr-20221-BBD Document 36 Filed 05/31/05 Page 1 of 2 Page|D 42

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
Cr. No. 04-20221-D

VS.

JU

 

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AMALIA L. MARCELLA,

Defendant.

ORDER GRANTING MOTION TO AMEND BOND CONDITIONS

IT APPEARING TO THIS COURT THAT upon statements ofcounsel, the filed motion of
the Defendant, there being no objections from the government, and for good cause shown, that the
motion to amend bond oonditions, and permitting the Defenda;nt to travel to Mississippi and the New

York City area for work related purposes is Well-tal<en and should be GRANTED

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

